Case 1:19-cv-06524-DLI-ST Document 59 Filed 10/20/22 Page 1 of 1 PageID #: 1523


                                 MCCARNEY LAW P.C.
                                        29 BROADWAY
                                          SUITE 2700
                                    NEW YORK, NY 10006
                                        (212) 797-1338
                                 jmccarney@mccarneylaw.com


                                                October 20, 2022


VIA PACER

Hon. Dora L. Irizarry
United States District Court
 Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                Re: Xiamen ITG Group Corp. v. Peace Bird Trading Corp.
                              19-cv-6524-DLI-ST


Dear Judge Irizarry:

             The Firm requests leave to withdraw as counsel for defendants and
counterclaimants Peace Bird Trading Corp., Xing Lin (USA) International Corp. and Crystal
Vogue, Inc. (collectively the “Clients”) and that the action be stayed for forty-five days to
allow the Clients an opportunity to retain replacement counsel. Counsel for plaintiff and
counter defendant Xiamen ITG Group Corp. consents to the withdrawal and to the forty-five
day stay.

              The request is made pursuant to Rule 1.16(c)(5) of the New York Rules of
Professional Conduct because the Clients are unable to comply an agreement as to payment
of expenses and fees. The Clients’ principal, Brian Wenyi Wu, has been informed of this
application and expressed no opposition.

                                                Respectfully,

                                              /s/James G. McCarney

                                                James G. McCarney
cc via Pacer: John J. Janiec, Esq.
cc via email: Brian Wenyi Wu
